
671 S.E.2d 531 (2008)
STATE of North Carolina
v.
Robert Elester WILLIAMS.
No. 453P08.
Supreme Court of North Carolina.
December 11, 2008.
Robert Elester Williams, Pro Se.
J. Philip Allen, Assistant Attorney General, C. Branson Vickory, III, District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 25th day of September 2008 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 11th day of December 2008."
